                        Case 3:16-cr-00006-MMD-VPC Document 244 Filed 05/01/18 Page 1 of 7
 AO 245B (Rev. 10/17)    Judgment in a Criminal Case
                          Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                                    District of Nevada

              UNITED STATES OF AMERICA,                             )                   JUDGMENT IN A CRIMINAL CASE
                                                                    )
                                    v.                              )
                                                                    )                   Case Number: 3:16-CR-6-MMD-VPC
                         DELMAR L. HARDY                            )
                                                                    )                   USM Number: 53050-048
                                                                    )
                                                                    )                    Steven Toscher, Evan Davis, Steven Wilson
                                                                                        Defendant’s Attorney



 THE DEFENDANT:
 G pleaded guilty to count(s)
 G pleaded nolo contendere to count(s)
    which was accepted by the court.
  was found guilty on count(s)            2, 3, and 4 of the indictment.
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                    Nature of Offense                                                           Offense Ended             Count
26 USC §7206(1)                      False Tax Return                                                            11/23/2011              2, 3, 4 
18 USC §2                             Aiding and Abetting                                                        11/23/2011               2, 3, 4 




       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
 Sentencing Reform Act of 1984.

  The defendant has been found not guilty on count(s)              1 of the indictment.

 √ Count(s)      5 of the indictment  is         G are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              April 30, 2018 
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                              MIRANDA M. DU. U.S. DISTRICT JUDGE
                                                                            Name and Title of Judge


                                                                              May 1, 2018
                                                                            Date
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 AO 245B (Rev. 10/17) Judgment in a Criminal Case
                       Sheet 2 — Imprisonment

                                                                                                         Judgment — Page   2 of 7
  DEFENDANT: DELMAR L. HARDY
  CASE NUMBER: 3:16-CR-6-MMD-VPC

                                                                 IMPRISONMENT
             The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
  term of:
                    25 months as to each count, to be served concurrently.




       The court makes the following recommendations to the Bureau of Prisons:
                 That the defendant be allowed to participate in RDAP and that he be designated to serve his term of incarceration at FCI 
Sheridan, OR or at an alternate facility that will allow him participation in RDAP.  




      G The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
             G at                                   G a.m.          G p.m.        on                                          .

             G as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 12 p.m. on        July 16, 2018                        .

             G as notified by the United States Marshal.
             G as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
  I have executed this judgment as follows:




             Defendant delivered on                                                         to

  a                                                     , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                                 By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev.10/17) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                        Judgment—Page 3 of 7
DEFENDANT:               DELMAR L. HARDY
CASE NUMBER:             3:16-CR-6-MMD-VPC
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :       One (1) year.



                                                    MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court not to exceed 104 tests annually.
              The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.     G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     G You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev.10/17) Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                                Judgment—Page     4 of 7
 DEFENDANT:               DELMAR L. HARDY
 CASE NUMBER:             3:16-CR-6-MMD-VPC

                                        STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
       aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                                     Date
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                        Judgment in a Criminal Case
                        Sheet 3D — Supervised Release
                                                                                          Judgment—Page   5 of 7
 DEFENDANT:               DELMAR L. HARDY
 CASE NUMBER:             3:16-CR-6-MMD-VPC

                                          SPECIAL CONDITIONS OF SUPERVISION

     1. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18
        U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
        search conducted by a United States Probation Officer. Failure to submit to a search may be grounds
        for revocation of release.

         You must warn any other occupants that the premises may be subject to searches pursuant to this
         condition. The probation officer may conduct a search under this condition only when reasonable
         suspicion exists that you have violated a condition of supervision and that the areas to be searched
         contain evidence of this violation. Any search must be conducted at a reasonable time and in a
         reasonable manner.

2.       You must submit to an alcohol abuse evaluation as directed by your probation officer to determine
         whether treatment is needed. If it is determined that you need treatment, you must participate in an
         outpatient alcohol abuse treatment program and follow the rules and regulations of that program. The
         probation officer will supervise your participation in the program (provider, location, modality,
         duration, intensity, etc.). You must pay the costs of the program based upon your ability to pay.

3.       You must not use or possess alcohol.

4.       You must provide the probation officer access to any requested financial information and authorize the
         release of any financial information. The probation office will share financial information with the U.S.
         Attorney’s Office.

5.       You shall pay any and all amounts due and owing to the Internal Revenue Service during the term of
         your supervised release.

6.       You must submit to a mental health evaluation as directed by your probation officer to determine
         whether treatment is needed. If it is determined that you need treatment, you must participate in a
         mental health treatment program and follow the rules and regulations of that program. The probation
         officer, in consultation with the treatment provider, will supervise your participation in the program
         (provider, location, modality, duration, intensity, etc.). You must pay the costs of the program based
         upon your ability to pay.
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AO 245B (Rev. 10/17)    Judgment in a Criminal Case
                        Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page   6 of 7
 DEFENDANT:   DELMAR L. HARDY
 CASE NUMBER: 3:16-CR-6-MMD-VPC
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                   JVTA Assessment*            Fine                      Restitution
 $TOTALS           $      300.00                  $                               $10,000.00


 G The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                  Total Loss**                      Restitution Ordered                  Priority or Percentage




 TOTALS                                $                                      $


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the             G fine     G restitution.
       G the interest requirement for the             G fine     G restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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                        Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments

                                                                                                                 Judgment — Page    7 of 7
 DEFENDANT:   DELMAR L. HARDY
 CASE NUMBER: 3:16-CR-6-MMD-VPC

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $ 10,300.00                     due immediately, balance due

            G not later than                             , or
               in accordance  with G   C,   G    D,   G E, or                   F below; or
 B
            G
            Payment to begin immediately (may be combined with
       G                                                                      G C,     G D, or           G F below); or
 C     G Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     G Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F      Special instructions regarding the payment of criminal monetary penalties:
                  Any unpaid balance shall be paid at a rate of not less than 10% of any income earned during incarceration and/or gross 
                  income while on supervision, subject to adjustment by the Court based upon ability to pay.  




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
